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                UNITED STATES COURT OF APPEALS FOR THE FIRST CIRCUIT

                                        NO. 22-1080

               IN RE: THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO
              RICO, AS REPRESENTATIVE FOR THE COMMONWEALTH OF PUERTO RICO; THE
                FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
             REPRESENTATIVE FOR THE PUERTO RICO SALES TAX FINANCING CORPORATION,
           a/k/a Cofina; THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO
              RICO, AS REPRESENTATIVE FOR THE EMPLOYEES RETIREMENT SYSTEM OF THE
               GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO; THE FINANCIAL
            OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE
               FOR THE PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY; THE
                FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
            REPRESENTATIVE FOR THE PUERTO RICO ELECTRIC POWER AUTHORITY (PREPA);
             THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
                 REPRESENTATIVE OF THE PUERTO RICO PUBLIC BUILDINGS AUTHORITY,
                                              Debtors.
             _________________________________________________________________
             THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
            REPRESENTATIVE FOR THE COMMONWEALTH OF PUERTO RICO; THE FINANCIAL
            OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE
                FOR THE EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
                   COMMONWEALTH OF PUERTO RICO; THE FINANCIAL OVERSIGHT AND
            MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE OF THE PUERTO
                                 RICO PUBLIC BUILDINGS AUTHORITY,
                                         Debtors–Appellees,
                                                 v.
                FEDERACION DE MAESTROS DE PUERTO RICO, INC.; GRUPO MAGISTERIAL
                EDUCADORES(AS) POR LA DEMOCRACIA, UNIDAD, CAMBIO, MILITANCIA Y
                   ORGANIZACION SINDICAL, INC.; UNION NACIONAL DE EDUCADORES Y
                                TRABAJADORES DE LA EDUCACION,INC.,
                                        Objectors–Appellants.
            PFZ PROPERTIES, INC.; OSCAR ADOLFO MANDRY APARICIO; MARIA DELCARMEN
              AMALIA MANDRY LLOMBART; SELMA VERONICA MANDRY LLOMBART; MARIA
               DEL CARMEN LLOMBART BAS; OSCAR ADOLFO MANDRYBONILLA; GUSTAVO
                  ALEJANDRO MANDRY BONILLA; YVELISE HELENA FINGERHUT MANDRY;
             MARGARET ANN FINGERHUT MANDRY; VICTOR ROBERT FINGERHUT MANDRY;
                  JUAN CARLOS ESTEVA FINGERHUT; PETRO MIGUELESTEVA FINGERHUT;
            MARIANO JAVIER MCCONNIE FINGERHUT; JANICE MARIEMCCONNIE FINGERHUT;
                 VICTOR MICHAEL FINGERHUT COCHRAN; MICHELLE ELAINE FINGERHUT
                 COCHRAN; ROSA ESTELA MERCADO GUZMAN; EDUARDO JOSE MANDRY
                  MERCADO; SALVADOR RAFAEL MANDRY MERCADO; MARGARITA ROSA
               MANDRY MERCADO; ADRIAN ROBERTO MANDRY MERCADO;VICENTE PEREZ
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                   ACEVEDO; CORPORACION MARCARIBE INVESTMENT; ANTONIO MARTIN
                  CERVERA; MARIA TERESITA MARTIN; WANDA ORTIZ SANTIAGO; NANCY I.
             NEGRON-LOPEZ; DEMETRIO AMADOR INC.; DEMETRIO AMADOR ROBERTS; SUIZA
                DAIRY CORP.; MARUZ REAL ESTATE CORP.; GROUP WAGE CREDITORS; YASHEI
              ROSARIO; ANA A. NUNEZ VELAZQUEZ; EDGARDO MARQUEZ LIZARDI; MARIA M.
                 ORTIZ MORALES; ARTHUR SAMODOVITZ; MIGUEL LUNA DEJESUS; ISMAEL L.
                   PURCELL SOLER; ALYS COLLAZO BOUGEOIS; MILDRED BATISTA DE LEON;
                JAVIER ALEJANDRINO OSORIO; SERVICE EMPLOYEES INTERNATIONAL UNION
                   (SEIU); INTERNATIONAL UNION, UNITED AUTOMOBILE, AEROSPACE AND
                     AGRICULTURAL IMPLEMENT WORKERS OF AMERICA; MAPFREPRAICO
                  INSURANCE COMPANY; CERTAIN CREDITORS WHO FILED ACTIONS IN THE
                     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO;
           MEDCENTRO, INC., f/k/a Consejo de Salud de la Comunidad de la Playa de Ponce, Inc.;
              ASOCIACION DE JUBILADOS DE LA JUDICATURA DE PUERTO RICO; HON. HECTOR
                    URGELL CUEBAS; COOPERATIVA DE AHORRO Y CREDITO VEGABAJENA;
                      LORTUTALTD., INC.; LA CUARTEROLA, INC.; JUAZA, INC.; CONJUGAL
                PARTNERSHIP ZALDUONDO-MACHICOTE; FRANK E. TORRES RODRIGUEZ; EVA
                  TORRES RODRIGUEZ; FINCA MATILDE, INC.; UNIVERSITY OF PUERTO RICO
              RETIREMENT SYSTEM TRUST; PETER C. HEIN; MIRIAM E. LIMA COLON; BETZAIDA
                   FELICIANO CONCEPCION; ANGEL L. MENDEZ GONZALEZ; ASOCIACION DE
               MAESTROSPUERTO RICO; ASOCIACION DE MAESTROS DE PUERTO RICO-LOCAL
                  SINDICAL; MORGAN STANLEY & CO. LLC; GOLDMAN SACHS & CO. LLC; J.P.
                 MORGAN SECURITIES LLC; SANTANDER SECURITIES LLC; SIDLEY AUSTIN LLP;
                    BMO CAPITAL MARKETS GKST, INC.; CITIGROUP GLOBAL MARKETS INC.;
               SAMUEL A. RAMIREZ & CO., INC.; MESIROW FINANCIAL, INC.; MERRILL LYNCH,
                   PIERCE, FENNER & SMITH INC.; MERRILL LYNCH CAPITAL SERVICES, INC.;
                  BARCLAYS CAPITAL INC.; RBC CAPITAL MARKETS, LLC; RAYMOND JAMES &
                 ASSOCIATES, INC.; COMMUNITY HEALTH FOUNDATION OF P.R. INC.; QUEST
              DIAGNOSTICS OF PUERTO RICO, INC.; U.S. BANK TRUST NATIONAL ASSOCIATION,
         as Trustee for the PRPFC Outstanding Bonds and PRIFA Bonds, and Fiscal Agent for PRPBA
          Bonds; U.S. BANK NATIONAL ASSOCIATION, as Trustee for the PRPFC Outstanding Bonds
              and PRIFA Bonds, and Fiscal Agent for PRPBA Bonds; NILSA CANDELARIO; JORGE
               RAFAELEDUARDO COLLAZO QUINONES; EL OJO DE AGUA DEVELOPMENT, INC.;
                PEDROJOSE NAZARIO SERRANO; JOEL RIVERA MORALES; MARIA DE LOURDES
                 GOMEZ PEREZ; HECTOR CRUZ VILLANUEVA; LOURDES RODRIGUEZ; LUIS M.
                     JORDAN RIVERA; TACONIC CAPITAL ADVISORS LP; AURELIUS CAPITAL
                MANAGEMENT, LP; CANYON CAPITAL ADVISORS LLC; FIRST BALLANTYNE LLC;
                   MOORE CAPITAL MANAGEMENT, LP; PUERTO RICO FISCAL AGENCY AND
               FINANCIAL ADVISORY AUTHORITY; HON. PEDRO R. PIERLUISI URRUTIA; UNITED
           STATES, on behalf of the Internal Revenue Service; ASOCIACION PUERTORRIQUENA DE
               LA JUDICATURA, INC.; COOPERATIVA DE AHORRO Y CREDITO ABRAHAM ROSA;
               COOPERATIVA DE AHORRO Y CREDITO DE CIALES; COOPERATIVA DE AHORRO Y
                CREDITO DE JUANA DIAZ; COOPERATIVA DE AHORRO Y CREDITO DE RINCON;
                   COOPERATIVA DE AHORRO Y CREDITO DE VEGA ALTA; COOPERATIVA DE


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                AHORRO Y CREDITO DR. MANUEL ZENO GANDIA; MARIA A. CLEMENTE ROSA;
           JOSE N. TIRADO GARCIA, as President of the United Firefighters Union of Puerto Rico,
                                             Objectors–Appellees,
                   VAQUERIA TRES MONJITAS, INC.; BLACKROCK FINANCIAL MANAGEMENT,
                INC.; EMSO ASSET MANAGEMENT LIMITED; MASON CAPITAL MANAGEMENT,
                    LLC; SILVER POINT CAPITAL, L.P.; VR ADVISORY SERVICES, LTD; AURELIUS
                 CAPITAL MANAGEMENT, LP, on behalf of its managed entities; GOLDENTREE
          ASSETMANAGEMENT LP, on behalf of funds under management; WHITEBOX ADVISORS
           LLC, on behalf of funds under management; MONARCH ALTERNATIVE CAPITAL LP, on
         behalf of funds under management; TACONIC CAPITAL ADVISORS L.P., on behalf of funds
            under management; ARISTEIA CAPITAL, LLC, on behalf of funds under management;
             FARMSTEAD CAPITAL MANAGEMENT, LLC, on behalf of funds under management;
              FOUNDATION CREDIT, on behalf of funds under management; CANYON CAPITAL
          ADVISORS LLC, in its capacity as a member of the QTCB Noteholder Group; DAVIDSON
                  KEMPNER CAPITAL MANAGEMENT LP; SCULPTOR CAPITAL MANAGEMENT;
                    AMBAC ASSURANCE CORPORATION; ANDALUSIAN GLOBAL DESIGNATED
                   ACTIVITY COMPANY; CROWN MANAGED ACCOUNTS, for and on behalf of
            Crown/PWSP; LMA SPC, for and on behalf of Map 98 Segregated Portfolio; MASON
                 CAPITAL MASTER FUND LP; OAKTREE-FORREST MULTISTRATEGY, LLC (SERIES
               B); OAKTREE OPPORTUNITIES FUND IX, L.P.; OAKTREE OPPORTUNITIES FUND IX
                     (PARALLEL), L.P.; OAKTREE OPPORTUNITIES FUND IX (PARALLEL 2), L.P.;
               OAKTREE HUNTINGTON INVESTMENT FUND II, L.P.; OAKTREE OPPORTUNITIES
                  FUND X, L.P.; OAKTREE OPPORTUNITIES FUND X (PARALLEL), L.P.; OAKTREE
                OPPORTUNITIES FUND X (PARALLEL 2), L.P.; OAKTREE VALUE OPPORTUNITIES
                   FUND HOLDINGS, L.P.; OCEANA MASTER FUND LTD.; OCHER ROSE, L.L.C.;
                     PENTWATER MERGER ARBITRAGE MASTER FUND LTD.; PWCM MASTER
                  FUNDLTD.; REDWOOD MASTER FUND, LTD.; BANK OF NEW YORK MELLON;
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS; ASSURED GUARANTY CORP.;
                 ASSURED GUARANTY MUNICIPAL CORP.; OFFICIAL COMMITTEE OF RETIRED
                   EMPLOYEES; NATIONAL PUBLIC FINANCE GUARANTEE CORP.; FINANCIAL
                GUARANTY INSURANCE COMPANY; AMERINATIONAL COMMUNITY SERVICES,
             LLC, as servicer for the GDB Debt Recovery Authority; CANTOR-KATZ COLLATERAL
              MONITOR LLC, as Collateral Monitor for GDB Debt Recovery Authority; ATLANTIC
                  MEDICAL CENTER,INC.; CAMUY HEALTH SERVICES, INC.; CENTRO DE SALUD
                   FAMILIAR DR. JULIO PALMIERI FERRI, INC.; CIALES PRIMARY HEALTH CARE
                    SERVICES, INC.; CORP. DE SERV. MEDICOS PRIMARIOS Y PREVENCION DE
               HATILLO, INC.; COSTA SALUD, INC.; CENTRO DE SALUD DE LARES, INC.; CENTRO
                 DE SERVICIOS PRIMARIOS DE SALUD DE PATILLAS, INC.; HOSPITAL GENERAL
                 CASTANER, INC.; GNMA & US GOVERNMENT TARGET MATURITY FUND FOR
            PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico GNMA & U.S. Government Target
              Maturity Fund, Inc.; MORTGAGE-BACKED & US GOVERNMENT SECURITIES FUND
               FOR PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico Mortgage-Backed & U.S.
          Government Securities Fund, Inc.; PUERTO RICO RESIDENTS BOND FUND I, f/k/a Puerto
              Rico Investors Bond Fund I; PUERTO RICO RESIDENTS TAX-FREE FUND, INC., f/k/a


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           Puerto Rico Investors Tax-Free Fund, Inc.; PUERTO RICO RESIDENTS TAX-FREE FUND II,
         INC., f/k/a Puerto Rico Investors Tax-Free Fund II, Inc.; PUERTO RICO RESIDENTS TAXFREE
                FUND III, INC., f/k/a Puerto Rico Investors Tax-Free Fund III, Inc.; PUERTO RICO
            RESIDENTS TAX-FREE FUND IV,INC., f/k/a Puerto Rico Investors TaxFree Fund IV, Inc.;
           PUERTO RICO RESIDENTS TAX-FREE FUND V, INC., f/k/a Puerto Rico Investors Tax-Free
               Fund V, Inc.; PUERTO RICO RESIDENTS TAX-FREE FUND VI, INC., f/k/a Puerto Rico
              Investors Tax-Free Fund VI, Inc.; TAX-FREE FIXED INCOME FUND FOR PUERTO RICO
            RESIDENTS, INC., f/k/a Puerto Rico Fixed Income Fund, Inc.; TAX-FREE FIXED INCOME
              FUND II FOR PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico Fixed Income Fund II,
               Inc.; TAX-FREE FIXED INCOME FUND III FOR PUERTO RICO RESIDENTS, INC., f/k/a
                 Puerto Rico Fixed Income Fund III, Inc.; TAX-FREE FIXED INCOME FUND IV FOR
           PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico Fixed Income Fund IV, Inc.; TAX-FREE
              FIXED INCOME FUND VFOR PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico Fixed
                   Income Fund V, Inc.; TAX-FREE FIXED INCOME FUND VI FOR PUERTO RICO
              RESIDENTS, INC., f/k/a Puerto Rico Fixed Income Fund VI, Inc.; TAX FREE FUND FOR
            PUERTO RICO RESIDENTS, INC., f/k/a Tax-Free Puerto Rico Fund, Inc.; TAX FREE FUND
           II FOR PUERTO RICO RESIDENTS, INC., f/k/a Tax-Free Puerto Rico Fund II, Inc.; TAXFREE
                  HIGH GRADE PORTFOLIO BOND FUND FOR PUERTO RICO RESIDENTS, INC.,
             f/k/a Puerto Rico AAA Portfolio Bond Fund, Inc.; TAX-FREE HIGH GRADE PORTFOLIO
              BOND FUND II FOR PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico AAA Portfolio
                Bond Fund II, Inc.; TAX-FREE HIGH GRADE PORTFOLIO TARGET MATURITY FUND
             FOR PUERTO RICO RESIDENTS, INC., f/k/a Puerto Rico AAA Portfolio Target Maturity
                 Fund, Inc.; TAX FREE TARGET MATURITY FUND FOR PUERTO RICO RESIDENTS,
          INC., f/k/a Tax-Free Puerto Rico Target Maturity Fund, Inc.; UBS IRA SELECT GROWTH &
                                         INCOME PUERTO RICO FUND,
                                              Creditors–Appellees.

                              MOTION FOR AMENDMENT OF CAPTION

      TO THE HONORABLE COURT:

             Comes now the Servicios Integrales en la Montaña (SIM), appellee, and very respectfully

      states, alleges and prays:

             1. SIM is a creditor in this Title III case. It voted in favor of the plan and opposed

                 Appellants’ motion to stay proceedings before the District Court. For reasons unknown,

                 given the number of parties in this proceedings, simple inadvertence, it was not

                 included as a party to this appeal. Hence, the ECF-CM system does not allow it to file

                 motions in the case.



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             2. Appellant has requested an expedited briefing of the case, which SIM does not oppose

                 in principle, but does want to have only 7 days to file its brief in opposition. Hence, it

                 requests that the caption of the case be amended to allow SIM to file the appropriate

                 motions.l

             WHEREFORE: SIM respectfully requests that the Honorable Court take notice of this

      motion and grant the amendment to the caption.

                               COPORATE DISCLOSURE STATEMENT

             Appellee SIM is a non-profit corporation. It has no parent corporation and issues no stock.

                                   CERTIFICATE OF COMPLIANCE

             Pursuant to Federal Appellate Rule 32(g), the undersigned counsel certifies that the

      document complies as follows:

             a. This document complies with the type-volume limit of Federal Rule of Appellate

      Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by Federal Rule

      of Appellate Procedure 32(f), this document contains 1,820 words.

             b. The document complies with the typeface requirements of Federal Rule of Appellate

      Procedure 32(a)(5) and the type-style requirements of Federal Rule of Appellate Procedure

      32(a)(6) because this document has been prepared in a proportionally spaced typeface using

      Microsoft Word 2010 in 12 point Times New Roman font. As permitted by Federal Rule of

      Appellate Procedure 32(g)(1), the undersigned has relied upon the word count feature of this

      word processing system in preparing this certificate.

             CERTIFY: That a true copy of this motion will be sent to the parties through the

      CM/ECF system.




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            In San Juan, PR, this 25th of February, 2022.




                                                   /s/ John E. Mudd
                                                   Attorney for Plaintiffs
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